                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

BENJAMIN A CLARK,                              )
                                               )
                       Plaintiff,              )
                                               )
v.                                             )     Case No. 4:20-CV-00517-BCW
                                               )
FEDEX GROUND PAKAGING                          )
SYSTEMS INC.,                                  )
                                               )
                       Defendants.             )

                                     ORDER OF DISMISSAL

        Having been notified of the settlement of this case, and it appearing that no issue remains

 for the Court’s determination, it is hereby

        ORDERED the above-styled action is DISMISSED with prejudice. In the event that the

 settlement is not perfected, any party may move to reopen the case, provided that such motion is

 filed within 45 days of the date of this Order. In addition, the Court retains jurisdiction over

 enforcement of the settlement agreed to by the parties.

       IT IS SO ORDERED.




DATED: October 30, 2020
                                               /s/ Brian C. Wimes
                                               JUDGE BRIAN C. WIMES
                                               UNITED STATES DISTRICT COURT




         Case 4:20-cv-00517-BCW Document 33 Filed 10/30/20 Page 1 of 1
